
652 S.E.2d 652 (2007)
Harold Wayne ROWELL
v.
STATE BOARD OF EXAMINERS OF PLUMBING, HEATING AND FIRE SPRINKLER CONTRACTORS.
No. 351P07.
Supreme Court of North Carolina.
October 11, 2007.
Harold Wayne Rowell, pro se.
John N. Fountain, Raleigh, for Board of Examiners.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 23rd day of July 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 11th day of October 2007."
Upon consideration of the petition filed on the 23rd day of July 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
